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                                   UNITED STATES BANKRUPTCY COURT
       3
                                     EASTERN DISTRICT OF CALIFORNIA
       4
       5
       6 In re                                        )    Case No. 19-90420-E-7
                                                      )    Docket Control No. RKW-2
       7 RILEY RAY NARMORE and                        )
         DENISE RENAY NARMORE,                        )
       8                                              )
                        Debtors.                      )
       9                                              )
      10                  ORDER GRANTING MOTION TO ABANDON PROPERTY
      11         The Motion to Compel Abandonment filed by Riley Ray Narmore and Denise Renay Narmore
      12 (“Debtor’s”) having been presented to the court; Findings of Fact and Conclusions of Law being
      13 stated in the Civil Minutes for the hearing; upon review of the pleadings, evidence, arguments of
      14 counsel, and good cause appearing,
      15         IT IS ORDERED that the Motion to Compel Abandonment is granted, and the Property
      16 identified as:
      17         1. Debtor’s business, R-AN-D RENOVATIONS,
      18         2. property used in the business, including file cabinets, office supplies, 2 paint
                 sprayers, 7 sawzalls, 3 drills, skill saw, table saw, drill press, tile saw, very old
      19         welder, other misc. tools valued at $3,500.00 (“Business Property”), and
      20         3. and accounts receivable (collectively “Debtor’s Business”).
      21 and listed on Schedule A/B by Debtor is abandoned by Irma Edmonds (“the Chapter 7 Trustee”) to
      22 Riley Ray Narmore and Denise Renay Narmore by this order, with no further act of the Chapter 7
      23 Trustee required.
      24             June 12, 2019
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                             Instructions to Clerk of Court
       2                          Service List - Not Part of Order/Judgment
       3 The Clerk of Court is instructed to send the Order/Judgment or other court generated document
         transmitted herewith to the parties below. The Clerk of Court will send the document via the
       4 BNC or, if checked ____, via the U.S. mail.
       5
           Debtor(s)                                     Attorney for the Debtor(s) (if any)
       6
       7   Bankruptcy Trustee (if appointed in the       Office of the U.S. Trustee
           case)                                         Robert T. Matsui United States Courthouse
       8                                                 501 I Street, Room 7-500
                                                         Sacramento, CA 95814
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